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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF KENTUCKY
                                              COVINGTON DIVISION

              IN RE: John J Schlarman, V                                       Case Number:     19-20079
                     Debtor

                                              PROBATION ORDER REGARDING
                                               CHAPTER 13 PLAN PAYMENTS

                   It is HEREBY ORDERED:

                   1) The Debtor shall have thirty (30) days from the date of this order within which to bring their

                   payments to the Trustee current. To be deemed current, the cure payment must be postmarked by this

                   date.

                   2) The Debtor shall be on probation with respect to plan payments in the within case for a period of

                   one (1) year from the date of this order and shall have a twenty-one (21) day grace period on payments

                   coming due within that time. A payment shall be deemed made within the grace period if it is

                   postmarked on or before 21 days following the due date.

                   3) Upon failure of the Debtor to make any payment as set forth in the above paragraphs, the Chapter

                   13 Trustee shall, without further motion or hearing, file with the Court a notice of failure to comply

                   with the terms of this order and tender an order dismissing this Chapter 13 case for failure to make

                   payments in accordance with the terms of the confirmed plan and/or the orders of the Court.



                   Copies to:


                   John J Schlarman, V                                      MASSEY, C ED
                   30 Lakeview Drive                                        Served Electronically Via ECF
                   Williamstown, KY 41097




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                  Signed By:
                                                                  Tracey N. Wise
                                                                  Bankruptcy Judge
                                                                  Dated: Wednesday, June 26, 2019
                                                                  (tnw)
